
FRUGÉ, Judge.
This is an expropriation suit instituted by plaintiff against defendants, Ronald R. Borison and Hazel M. Langlinais. Plaintiff appeals from the judgment of the trial court in respect to the property valuations determined and as to the severance damages awarded. -
The present suit was consolidated for trial and appeal with a companion suit, City of Lafayette, Louisiana v. Babineaux, 297 So.2d 220 (No. 4597 on the docket of this court). We are rendering judgment in that suit today.
For the reasons assigned in the above-mentioned case, the judgment appealed from in the instant suit is affirmed. Costs of this appeal are assessed against plaintiff-appellant.
